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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG              MDL NO. 2179
“DEEPWATER HORIZON” in the
GULF OF MEXICO, on April 20, 2010            SECTION:       J

                                                       JUDGE BARBIER

                                                       MAGISTRATE JUDGE SHUSHAN
THIS DOCUMENT RELATES TO:
2:10-cv-03168

         PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THEIR RESPONSE
                     TO MI L.L.C.’S MOTION TO DISMISS

       Plaintiffs Douglas Harold Brown, Christopher Choy, Brent Mansfield and Dominique

Ussin, by and through undersigned counsel, file this Memorandum of Law in Support of Their

Response to MI L.L.C.’s (hereinafter referred to as MI) Motion to Dismiss.

                                  STANDARD OF REVIEW

       Plaintiffs do not quarrel with the standard of review identified in MI’s motion.

                                         ARGUMENT

A.     Punitive Damages are Available Under General Maritime Law.

       MI erroneously contends that the Court should dismiss Plaintiff’s punitive damage claim

under general maritime law. It relies on Miles v. Apex Marine Corp., 498 U.S. 19, 111 S. Ct.

317, 112 L.Ed.2d 275 (1990) to support its argument. But this is not a death case and moreover,

Atlantic Sounding limited Miles’ reach when it found that “[h]istorically, punitive damages have

been available and awarded in general maritime actions . . ..”        Atl. Sounding Co., Inc. v.

Townsend, 129 S. Ct. 2561, 2565 (2009). Exxon Shipping Co. v. Baker, 128 S.Ct. 2605, 2626

(2008) also upheld a punitive damages award based solely on federal maritime common law. MI




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did not cite Townsend or Baker. The Court should rely on those two cases and expressly find

that punitive damages are available under general maritime law in a personal injury case.

B.     Plaintiffs Pled Sufficient Facts Supporting its Res Ipsa Loquitur Claim.

       MI erroneously contends that Plaintiffs failed to assert sufficient allegations supporting

their res ipsa loquitur claim. Plaintiffs made detailed allegations against MI and their control

over mud, drilling fluids, spacers, among other things.

       M-I also known as M-I Swaco, supplies drilling and completion fluids and
       additives to oil and gas companies in Louisiana and elsewhere, providing pressure
       control, vessel instrumentation, and drilling waste management products and
       services. On the Deepwater Horizon, M-I provided mud products, including
       drilling fluids and spacers, engineering services, and mud supervisory personnel,
       such as mud engineers and drilling fluid specialists, to manage the properties of
       those fluids in the Macondo Well. M-I employed, planned and/or supervised key
       fluid activities concerning the Macondo Well, such as the mud displacement that
       was occurring at the time of the April 20, 2010 Macondo Well blow-out.

(Doc. 1664 at ¶ 13.)

       Plaintiffs addressed MI’s role in creating the mud displacement plan (¶ 109) and MI’s use

of an unconventional fluid mixture and an abnormally large amount of spacer (¶ 111). Plaintiffs

concluded by making detailed negligence claims, which MI fails to attack.

               As to M-I, the following allegations, among others, have been made by the
       Plaintiffs/Claimants:

               a.      M-I owed and breached duties of ordinary and reasonable care in
                       connection with the drilling operations owed and breached duties
                       to the Claimants to guard against and/or prevent the risk of an oil
                       spill; and
               b.      M-I failed to provide, control and monitor the mud and spacer
                       solutions in a reasonably safe manner.
               c.      Failing to monitor pressure of wells;
               d.      Failing to use adequate weight drilling fluid to prevent gas escape;
               e.      Failing to follow industry protocol and procedure during plug
                       completion phases;
               f.      Use of sea water as weight and gas control medium during drilling
                       and completion processes;



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               g.       Attempting to carry out drilling operations with substandard and
                        defective cement casing.

(Doc. 1664 at ¶ 140.)

       These allegations are sufficient to survive a motion to dismiss. Ultimately, the tome of

deposition testimony may disprove these allegations, expert testimony could be used to defeat

them, or Plaintiffs may withdraw this claim later.         But Plaintiffs sufficiently pled them.

Moreover, res ipsa loquitur is essentially an instruction that would accompany a negligence

question. As a result, this issue can be dealt with at the charge conference. Finally, MI is wrong

that the instrumentalities giving rise to the accident must have been under its “exclusive” control.

Cases have also found that the instruction can be given when there was “joint” control. See, e.g.,

Aguirre v. Turner Const. Co., 501 F.3d 825, 832 (7th Cir. 2007); see also Pritchard v. Stanley

Access Technologies, LLC, 2011 WL 309662, at *3 (D. Mass. 2011) (“Given that the doctrine of

res ipsa loquitur may apply against two defendants when there is joint control, it is for the jury to

say whether either or both had control.”) (citation and internal quotation marks omitted).

                                         CONCLUSION

       For the foregoing reasons, the Court should deny MI’s motion.




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                                            Respectfully submitted,

                                            GORDON, ELIAS & SEELY, L.L.P.



                                            /s/R. Todd Elias__________________________
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                               CERTIFICATE OF SERVICE

        I certify that the above and foregoing response will be served on all counsel by
electronically uploading the same to Lexis Nexis File & Serve in Accordance with Pretrial Order
No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United
States District Court for the Eastern District of Louisiana by using the CM/ECF System which
will send a notice of electronic filing in accordance with the procedures established in MDL 217,
on this 19th day of July, 2011.



                                            /s/R. Todd Elias__________________________
                                            R. Todd Elias




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